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EXHIBIT 132
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Mobile News

Biggest Yet Thinnest, SAMSUNG Infuse™ 4G Debuts May 15

Exclusive Angry Birds Version to be Featured on the Nation’s Thinnest 4G Smartphone with
Largest AT&T Display

DALLAS, May 5, 2011 — AT&I“ and Samsung Telecommunications America (Samsung Mobile), the No. 1 mobile
phone provider in the U.S., today announced the upcoming availability of the Samsung Infuse™ 4G.

Key Facts

« Exclusive to AT&T customers, the Samsung Infuse 4G will be the nation’s thinnest 4G smartphone at 8.99mm at its
thinnest.

* Delivers the largest display in AT&T's smartphone portfolio with a brilliant 4.5-inch screen featuring next-generation
Super AMOLED™ Plus technology.

* Powered by a 1.2 GHz processor and the Android™ 2.2 platform, the Samsung Infuse 4G also boasts an 8-megapixel
camera, and a $25 credit to download movie content from Samsung Media Hub.

* Pre-loaded version of Angry Birds features an exclusive hidden level for Infuse 4G customers.

* Samsung Infuse 4G will be available in AT&T company-owned stores and online at www.wireless.att.com on May 15
and will cost $199.99 with a two-year contract and no mail-in rebate. (Minimum $15 data plan required)

Customer Benefits

The Samsung Infuse 4G will be the thinnest 4G smartphone available in the U.S. and will feature the largest screen --
at 4.5 inches -- in AT&T's smartphone lineup, and the largest touch screen on any Samsung phone. Powered by a 1.2
GHz application processor and running the Android 2.2 platform, the device delivers a brilliant display using Samsung's
next-generation Super AMOLED™ Plus technology which features 50 percent more sub-pixels for better contrast. The
display also offers unmatched outdoor viewing quality, even in the brightest sunlight.

With the Infuse 4G, Samsung and AT&T are raising the stakes on pre-loaded content that is not available on any other
device. In collaboration with Rovio, the Infuse 4G will feature a special edition of Angry Birds pre-loaded on the
smartphone. Players can unlock a special “Golden Egg” level of the game, and once the special level is completed,
users can register to win Samsung prizes exclusive to Infuse 4G users.**

The smartphone also includes an 8-megapixel camera/camcorder with auto-focus and flash that shoots HD video with

incredible detail. A front facing camera is perfect for self portraits or video chat. Customers can also watch hit movies
and TV shows from preloaded apps like Samsung Media Hub, U-verse Mobile and U-verse Live TV.

http://www.samsung.com/us/news/newsPreviewRead.do?news_seq=19852[10/15/2012 2:07:54 PM]
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The first 500,000 Infuse 4G units sold will include a $25 voucher for consumers to get started on downloading content
from Media Hub. With Media Hub’s progressive downloading feature, users can start watching their content almost
immediately as the rest of the file downloads to the Infuse 4G. Plus, all Media Hub content can be shared among five
Media Hub-enabled devices on the same account. The Infuse 4G also comes with a 2GB microSD card with preloaded
trailers for upcoming summer movies.

Compatible with the Infuse 4G and other devices on the Android 2.2 platform or better, AT&T has also launched a new,
fun app called JustUs. The app combines both social media and text activity from five favorite contacts into an animated
wallpaper, keeping users better connected with those that matter most. Customers can download the app for free in
Android Market today.

Quotes

“The 4.5-inch screen on Infuse 4G is enhanced further with Samsung's Super AMOLED Plus technology. Colors are rich
and bright, even while outdoors in sunlight,” said Jeff Bradley, senior vice president, Devices, AT&T Mobility and
Consumer Markets. “When you juxtapose that with the fact that it's the thinnest 4G smartphone out there today, it's an
incredibly compelling choice for our customers.”

“When you combine the powerful 1.2 GHz application processor with AT&T's advanced 4G network, this device will truly
be the fastest smartphone Samsung has ever created with AT&T,” said Omar Khan, chief technology officer & chief
product officer for Samsung Mobile. “The Infuse 4G is our latest example of Samsung's global leadership in Android
platform smartphones. With every Android smartphone that we launch, we're bringing something new and exciting to the
market.”

Smartphone Portfolio

AT&T is a pioneer in smartphones and devices and expects to widen its portfolio in 2011. In January, AT&T committed
to introducing 20 4G devices and 12 additional Android devices by the end of the year. Samsung Infuse 4G will be one
of several new 4G devices that have been offered to AT&T customers in the first half of 2011.

Samsung Infuse 4G Accessories

To prepare for the arrival of the Samsung Infuse 4G in AT&T stores, the company has prepared a robust lineup of 14
fashionable and functional accessories including multiple case options, a vehicle mount and desk mount. All
accessories are available in AT&T company-owned stores and online at www.wireless.att.com. For more details on the
lineup visit ww.att.com/mobilephones-news.

Key Specifications

+ Android™ 2.2 platform

* 4G: HSDPA CAT 14 and HSUPA CAT 6

*8.9 mm to 9.24mm thin

* UMTS 850/1900/2100

* GSM 850/900/1800/1900

+ 1.2 GHz processor

«45-inch Super AMOLED™ Plus screen

+ 8-megapixel camera with HD 720p video camera and 1.3-megapixel front facing camera
« Virtual QWERTY keyboard

« Expandable memory up to 32GB with microSD card

+ Text/Picture and Video Messaging support

+ Samsung Media Hub, U-verse Mobile, U-verse Live TV, and Angry Birds

To learn more about the Samsung Infuse™ 4G, visit www.att.com/mobilephones-news, www.att.com/infuse4G or
www.samsung.com/mobile.

* AT&T products and services are provided or offered by subsidiaries and affiliates of AT&T Inc. under the AT&T brand and not by AT&T Inc.
** Restrictions apply. See http://www.trymark.com/STA/Infuse4G/rules.html for Official Rules.

Number one mobile phone provider in the United States claim for Samsung Mobile based upon reported shipment data, according to Strategy

http://www.samsung.com/us/news/newsPreviewRead.do?news_seq=19852[10/15/2012 2:07:54 PM]
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Analytics, Q1 2011 U.S. Market Share Handset Shipments Reports.

4G speeds delivered by HSPA+ with enhanced backhaul. Available in limited areas. Availability increasing with ongoing backhaul deployment.
Learn more at att.com/network. 4G used in connection with the Samsung Infuse product name refers to the fact that the Infuse is capable of

operating on AT&T’s HSPA+ network with enhanced backhaul described herein.

Limited-time offer. Requires 2 year agreement, eligible voice plan and smartphone data plan, and new activation. For voice and smartphone
data plans see rep or att.com/cell-phone for voice plans and att.com/dataplans for data plans. Qualified customers only. Geographic restrictions
apply. $36 activation fee. Early Termination Fee: None if cancelled in the first 30 days, but up to $35 restocking fee may apply to equipment

returns; thereafter up to $175. For complete terms see att.com/wirelessterms. Sales tax calculated based on price of unactivated equipment.
$25 Samsung Media Hub movie credit available to first 500,000 devices.

AT&T U-verse Live TV requires mobile broadband service. Service not available in all areas. Programming subject to blackout restrictions.

Download and watch capability available for select content, requires Wi-Fi connection and is available for viewing for limited time periods.

AT&T U-verse® Mobile Pay-per-month download and watch capability available for select shows and requires select smartphones, Wi-Fi
connection, and monthly subscription fee. Downloaded shows are available for viewing for limited time periods. Standard data charges may

apply.

About AT&T

AT&T Inc. (NYSE:T) is a premier communications holding company. Its subsidiaries and affiliates - AT&T operating
companies — are the providers of AT&T services in the United States and around the world. With a powerful array of
network resources that includes the nation’s fastest mobile broadband network, AT&T is a leading provider of wireless,
Wi-Fi, high speed Internet, voice and cloud-based services. A leader in mobile broadband and emerging 4G capabilities,
AT&T also offers the best wireless coverage worldwide of any U.S. carrier, offering the most wireless phones that work
in the most countries. It also offers advanced TV services under the AT&T U-verse® and AT&T | DIRECTV brands. The
company’s suite of IP-based business communications services is one of the most advanced in the world. In domestic
markets, AT&T Advertising Solutions and AT&T Interactive are known for their leadership in local search and
advertising.

Additional information about AT&T Inc. and the products and services provided by AT&T subsidiaries and affiliates is
available at www.att.com. This AT&T news release and other announcements are available at
http://www.att.com/newsroom and as part of an RSS feed at www.att.com/rss. Or follow our news on Twitter at @ATT.

About Samsung Telecommunications America

Samsung Telecommunications America, LLC, a Dallas-based subsidiary of Samsung Electronics Co., Ltd., researches,
develops and markets wireless handsets and telecommunications products throughout North America. For more
information, please visit www.samsungwireless.com.

About Samsung Electronics Co., Ltd.

Samsung Electronics Co., Ltd. is a global leader in semiconductor, telecommunication, digital media and digital
convergence technologies with 2009 consolidated sales of US$116.8 billion. Employing approximately 188,000 people in
185 offices across 65 countries, the company consists of eight independently operated business units: Visual Display,
Mobile Communications, Telecommunication Systems, Digital Appliances, IT Solutions, Digital Imaging, Semiconductor
and LCD. Recognized as one of the fastest growing global brands, Samsung Electronics is a leading producer of digital
TVs, memory chips, mobile phones and TFT-LCDs. For more information, please visit www.samsung.com.

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